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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
Plaintiff,
- against -

METRO DATA MANAGEMENT, INC.
d/b/a DATA MARKETING GROUP, LTD.,
KEITHA ROCCO, individually and as an
Officer of Metro Data Management, Inc., and
9097 9394 INFOGEST, QUEBEC INC.
d/b/a INFOGEST DIRECT MARKETING,

Defendants.

 

 

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Plaintiff, the UNITED STATES OF AMERICA, by and through the undersigned

attorneys, hereby alleges as follows:

INTRODUCTION

1. The United States brings this action for a temporary restraining order, preliminary

and permanent injunctions, and other equitable relief pursuant to 18 U.S.C. § 1345, in order to

enjoin the ongoing commission of criminal mail fraud in violation of 18 U.S.C. § 1341. The

United States seeks to prevent continuing and substantial injury to the victims of fraud.

2. Since at least 2009 and continuing to the present, Defendants, using the United

States mails, have engaged in a predatory mail fraud scheme. Defendants operate the scheme in

the name of and in conjunction with Destiny Research Center, a corporation incorporated in

Hong Kong, to mail solicitations to victims throughout the United States promoting various

psychic and clairvoyant services and purported talismans. The solicitations are written to give
 

the impression that they are personalized to the individual recipient, and state that psychics
Maria Duval and Patrick Guerin have had visions or have otherwise determined through the use
of psychic powers that the individual recipient has the opportunity to achieve great wealth and
happiness. The solicitations often state that one of the psychics has seen the individual recipient
winning millions of dollars through the lottery. In reality, Defendants mail tens of thousands of
nearly identical, purportedly personalized solicitations every month to consumers throughout the
United States. The solicitations urge the recipient to purchase various supernatural and
divinatory objects or services in order to achieve the predicted wealth. Defendants represent that
these items are unique artifacts, when in reality these items are purchased in bulk and sent to
thousands of consumers.

3. In response to receiving these direct mail solicitations, thousands of American
consumers have sent tens of millions of dollars to the defendants.

4. For the reasons stated herein, the United States requests injunctive relief pursuant

to 18 U.S.C. § 1345 to enjoin Defendants’ ongoing scheme to defraud using the mail in violation

of 18 U.S.C. § 1341.
JURISDICTION AND VENUE

5. The Court has subject matter jurisdiction over this action pursuant to 18 U.S.C.
§ 1345 and 28 U.S.C. §§ 1331 and 1345.

6. Venue lies in this district pursuant to 28 U.S.C. § 1391(b)(2).

PARTIES
7. Plaintiff is the United States of America.
8. Defendant Metro Data Management, Inc. d/b/a Data Marketing Group, Ltd.

(“Data Marketing Group”) is, and was at all times relevant to this action, a corporation organized
 

 

and existing under the laws of the State of New York. Data Marketing Group’s principal place
of business is 60 East Industry Court, Deer Park, New York, 11729, located in the Eastern
District of New York.

9. Defendant Keitha Rocco is the president and CEO of Data Marketing Group.
Keitha Rocco resides in Suffolk County, New York, in the Eastern District of New York.

10. Defendant 9097-9394 Québec Inc. d/b/a Infogest Direct Marketing (“Infogest”)
is, and was at all times relevant to this action, a corporation organized and existing under the
laws of the province of Québec, Canada. In connection with the matters alleged herein, Infogest

transacts or has transacted business in the Eastern District of New York and throughout the

United States.
DEFENDANTS’ ONGOING FRAUDULENT SCHEME
[1. Beginning at least as early as 2009, Defendants have engaged in, are engaging in,

and will continue to engage in a mail fraud scheme that has defrauded consumers throughout the
United States out of tens of millions of dollars.

12. Destiny Research Center, a Hong Kong corporation, sends solicitation letters
through the United States Postal Service to consumers throughout the United States. These
solicitations promote the psychic and clairvoyant services of two individuals named “Maria
Duval” and “Patrick Guerin” (collectively, “the psychics”). Destiny Research Center sends
dozens of different solicitations to consumers, al! styled as personalized letters, and all offering
predictions of impending wealth, the opportunity to win large sums of money, or other good
fortune. The solicitations misrepresent that one of the psychics learned of the specific consumer
and the consumer’s potential to accumulate great wealth through a dream or vision. The

solicitations urge consumers to purchase various objects and psychic services as a means to
 

ensure that the predicted wealth and good fortune come to pass for a cost of approximately $40-
$50. Consumers who purchase products or services in response to the solicitations are then
bombarded with numerous additional, similar solicitations.

13. Destiny Research Center has sent over 56 million pieces of mail to consumers in
the United States from 2006 through the present.

14. The printed solicitations are shipped by truck from Canada across the border into
the United States and are deposited with the U.S. Postal Service in Albany, New York. Destiny
Research Center mails solicitations in batches of as many as 20,000 or 50,000 pieces of mail at a
time.

15. ‘The solicitations contain an order form and return envelope for consumers to mail
responses and payment. The return envelopes are pre-addressed to Destiny Research Center at
one of three addresses. Those addresses belong to Commercial Mail Receiving Agencies
(“CMRAs”) in Nevada, Illinois and Ontario, Canada. The CMRAs bundle the mail they receive
from victims addressed to Destiny Research Center and forward the mail to Defendant Data
Marketing Group.

16, Defendant Data Marketing Group opens all incoming mail from consumer
victims, processes consumer payments, including check scanning, and enters the names,
addresses and orders of consumers who respond with payments into a database. Defendants also
review correspondence from consumers for refund requests. These services are known in the
direct mail industry as “caging services.”

17. Data Marketing Group processes as much as $500,000 worth of victim payments

on behalf of Destiny Research Center every two weeks.
 

 

18. Data Marketing Group opens and reads mail from consumers in order to enter
requests for refunds into a database. Over three separate one-week periods in 2014, Data
Marketing Group received a total of approximately 1,500 letters written by consumers and
addressed to “Duval” and “Guerin,” and to the psychic characters utilized by a similar scheme
for which Data Marketing Group also provides caging services. The letter writers frequently
discuss topics like receiving Medicare or Social Security benefits, large debts, and medical
illness or ailments, and plead for the psychics to intervene and address these challenges. Many
consumers complain in letters that products or services purchased are not working as promised or
about the volume of solicitations received.

19. Based on these letters, Data Marketing Group knew that many victims believed
they were personally corresponding with the psychics, when in fact they were recipients of form
letters. Based on the text of the solicitations and the sheer volume of mail, Data Marketing
Group knows that the solicitations sent by Destiny Research Center are form letters.

20. Once customer payments are entered into the database, a third-party fulfillment
company sends the product ordered to the customer, along with a new solicitation offering
further psychic predictions and urging the purchase of additional items and services.

21. Defendant Infogest, incorporated in and operating out of Montreal, Canada,
controls Destiny Research Center’s direct mail operations in the United States. Data Marketing
Group sends invoices for the caging services it performs on behalf of Destiny Research Center to
Mary Thanos, a Director at Infogest. Data Marketing Group also seeks permission from Daniel
Sousse, Infogest’s Customer Relationships Manager, prior to issuing large refunds to victims of
the Destiny Research Center fraud, and forwards to Infogest questions from Destiny Research

Center victims regarding order fulfillment.
 

 

SPECIFIC MISREPRESENTATIONS
Personal Knowledge and Personalized Predictions for Consumers

22. The solicitations misrepresent to consumers that “Maria Duval” and “Patrick
Guerin” have personal knowledge of the individual recipient and that the recipient was selected
to receive the mailing based on a reason other than the fact that the person’s name appears on a
mailing list. The solicitations misrepresent that the psychics have seen visions of the individual
recipient winning huge sums of money or receiving other good fortune. In fact, Defendants send
nearly identical solicitations to tens of thousands of consumers. Defendants use a mail merge to
insert the names of consumers and occasionally numeric details, such as the number appearing
on a talisman, into pre-written form letters.

23. One such solicitation informs consumers that “Maria Duval” and “Patrick Guerin”
both had complementary psychic visions revealing that the consumer would win substantial
money through the lottery. In order to receive the lottery winnings predicted by the psychics, the
solicitation urges consumers to spend $50 to receive a talisman and the “Invaluable Guide to a
New Life” and to have Maria Duval perform a “Grand Ceremony.” Specific misrepresentations
contained in this solicitation include the following:

e So, now 2 internationally acclaimed psychics have predicted what your future
holds in store for you...it’s fantastic news, [victim name]...take note of these 4
things that are very important for you: April 2, 2014, Powerball, Winnings,
Problems Solved

e Patrick Guerin told me he had experienced incredible visions of amazing clarity,
the likes of which he had rarely ever experienced... At this point, Patrick Guerin
saw he could help these people and among them, he saw YOU [victim name]!
Yes, this great psychic of international renown KNOWS how to help these people

really win massive sums of money on games of “chance” that could make their
financial woes a thing of the past.
 

e The most surprising thing is, [victim name]...] saw the same thing for
you!...There is no doubt at all, [victim name], that you are among this small group
of people about whom Patrick Guerin and I had such clear visions. '

The solicitation containing the above statements is attached hereto as Exhibit A. Nearly identical
solicitations were sent to thousands of other consumers. These solicitations include copies of
“notes” purportedly written by the psychics during their individualized visions regarding the
recipient of the solicitation. The “notes” are printed to appear hand written, but identical “notes”
appear in the solicitations to other consumers, save for the name and birth date of the individual
recipient.

Defendants Misrepresent That the Products and Services They Offer for Sale Are Unique and
Will Bring the Purchaser Wealth and Good Fortune

24. Defendants urge recipients of their solicitations to purchase various products,
such as talismans and artifacts, or psychic services, which they fraudulently represent will bring
the purchaser wealth and other good fortune. Defendants misrepresent that these products and
services are unique and have been developed specifically for an individual consumer. In fact,
Defendants offer identical items to thousands of other consumers, and use the services of a third-
party fulfillment company to ship thousands of identical items to consumers around the country.
Moreover, contrary to Defendants’ misrepresentations, the purported talismans and services
bring no wealth or good fortune.

25. Defendants include such misrepresentations in the solicitation attached here as
Exhibit A, including the following statements:

e Patrick Guerin knows a good part of the help you’re going to need to win this
money and sort out all your most urgent money problems while I know the other
parts. In fact, between us, we have the solution to all your most urgent problems!
We locked ourselves in for 3 days and worked together around the clock to

perfect a brilliant, unique and very dynamic and personalized help plan that
comes in 2 parts.
 

© We’ve written down everything we’ve seen for you in one unique, invaluable but
very straightforward document....[With the “Invaluable Guide to New Life”],
you're going to know what day and what numbers you need to play to win again
and again (all you’re going to need to do is check off the numbers we indicate to
you on your lottery tickets).

* In celebration of your NEW LIFE, we’ ve prepared a mysterious and extraordinary
gift for you — a powerful Talisman that can attract MONEY and LUCK. It’s the
same Talisman that Patrick Guerin carries with him all the time. He’s never
shared it before, but in your case he had no hesitation. The most powerful and
ancient Talisman we have ever known is now YOURS!

The talisman and the “Invaluable Guide to new Life” are offered to thousands of other
consumers throughout the country through the same form letter. This is just one example of
dozens of form letters that Defendants send to consumers by the thousands promising

“personalized” psychic products and services.

Solicitation of Further Personal Information from Recipients Under the False Premise
That Such Information Will be Used for Personalized Psychic Predictions

26. Several of the solicitations sent to consumers by Destiny Research Center request
that the consumers send back further information, such as their birth date, or physical items such
as hair or photographs, in order to allow the psychics to create more accurate predictions for
those consumers.

27. As one example, one solicitation offers a “personal astral-clairvoyant forecast”
from Maria Duval for $45. The solicitation also encloses a green envelope and requests that
consumers send back in the envelope a personal photograph or a few strands of hair. The
solicitation states:

As soon as I have your photo (or the strands of hair from your head) in my
possession, I am going to be able to concentrate all my psychic strengths further. I
will keep the photo with me for the months and years to come so that my contact as a
medium can be with you permanently, [victim name]....[Victim name], with this in

hand, I can prepare your detailed personal astral-clairvoyant forecast in the next few
' days.
 

The outside of the green envelope contains instructions to place a photograph or hair inside, and
states, “Once this envelope has been sealed, it may be opened ONLY by me,” followed by Maria
- Duval’s signature. In fact, employees at Data Marketing Group throw the green envelopes
returned by consumers into the trash without opening them.

28. The specific misrepresentations identified in paragraphs 22 through 27 are only a
few of examples of the similar misrepresentations contained in dozens of form letter solicitations
utilized by Defendants. Defendants knew that the letters sent to consumers were not in fact
personalized letters, but were form letters sent to thousands of consumers throughout the United
States.

29, The product order pages of the solicitations contain text running vertically down
the side of the page stating that “individual results may vary” and “For novelty and entertainment
purposes only.” The text is printed in micro print and intentionally blurred to make it barely
decipherable. Recipients are highly unlikely to see, let alone read and understand this tiny print.
This hidden disclaimer does nothing to counteract the overall impression conveyed by the

solicitations that they contain accurate predictions of guaranteed future wealth and happiness.
HARM TO CONSUMERS

30. Consumers suffer financial losses from the lies told by Defendants. Consumers
pay Defendants over $13 million annuaily in response to solicitations containing the types of
misrepresentations described above. The Fraud Complaint System operated by the United States
Postal Inspection Service contained at least 700 complaints referencing Maria Duval or Destiny
Research Center as of September 30, 2014. The Consumer Sentinel database operated by the
Federal Trade Commission contained at least 500 similar complaints as of the same date. The
complaints generally pertain to false representations and fraud related to the products or services
provided by Duval or Guerin. Victims also complain about a lack of refunds and the large
number of solicitations they receive. This harm to consumers is ongoing and will continue
without the injunctive relief sought by the United States.

COUNT I
(18 U.S.C. § 1345 — Injunctive Relief)

31. The United States realleges and incorporates by reference paragraphs | through
29 of this Complaint as though fully set forth herein.

32, By reason of the conduct described herein, Defendants violated, are violating, and
are about to violate 18 U.S.C. §§ 1341 and 1349 by executing a scheme or artifice to defraud or
for obtaining money or property by means of false or fraudulent representations with the intent to
defraud, and, in so doing, using the United States mails and/or a private or commercial interstate

carrier.

33. | Upona showing that Defendants are committing or about to commit mail fraud,
the United States is entitled, under 18 U.S.C. § 1345, to a temporary restraining order, a

preliminary injunction, and a permanent injunction, restraining all future fraudulent conduct and

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any other action that this Court deems just in order to prevent a continuing and substantial injury
to the victims of fraud.
34. As a result of the foregoing, Defendants’ conduct should be enjoined pursuant to
18 U.S.C. § 1345,
PRAYER FOR RELIEF
WHEREFORE, the plaintiff United States of America requests of the Court the following
relief:
(a) A temporary restraining order under 18 U.S.C. § 1345 as follows:
i.  Enjoining Defendants, their agents, officers, and employees, and all other
persons and entities in active concert or participation with them from
committing mail fraud, as defined by 18 U.S.C. § 1341;
ii. Enjoining Defendants, their agents, officers, and employees, and all other
persons and entities in active concert or participation with them from using the
United States mails or causing others to use the mails to distribute:

1, any advertisements, solicitations, or promotional materials on behalf
of Destiny Research Center, Maria Duval, Patrick Guerin or any other
actual or fictional individual or entity purporting to offer psychic,
clairvoyant or astrological items or services for a fee;

2. any advertisements, solicitations, or promotional materials that
represent, directly or indirectly, expressly or impliedly, that the
recipient of the solicitation was specifically selected to receive the
mailing based on a reason other than the fact that the recipient’s name

appears on a mailing list;

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iv.

3.any advertisements, solicitations, or promotional materials that
represent, directly or indirectly, expressly or impliedly, that services or
items offered for purchase will, or could, improve the consumer’s
financial condition; or
4, any other false and misleading advertisements, solicitations, or
promotional materials;
Enjoining Defendants, their agents, officers, and employees, and all other
persons and entities in active concert or participation with them from
receiving or causing to be delivered any incoming mail, at any address
anywhere in the United States of America, which is responsive to the
solicitations that are the subject of this action, or any other solicitations
substantially similar thereto;
Enjoining Defendants, their agents, officers, and employees, and all other
persons and entities in active concert or participation with them from selling
or offering for sale any lists of consumers or mailing lists of any type
compiled from consumers who have responded to solicitations bearing the
names Destiny Research Center, Maria Duval, or Patrick Guerin;
Enjoining Defendants, their agents, officers, and employees, and all other
persons and entities in active concert or participation with them from
performing “caging services,” including processing direct mail payments and
orders, credit card processing, and check scanning, with regard to direct mail

solicitations on behalf of Destiny Research Center, Maria Duval, Patrick

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Guerin or any other actual or fictional individual or entity purporting to offer
psychic, clairvoyant or astrological items or services for a fee;

vi. Ordering Defendants, their agents, officers, and employees, and all other
persons and entities in active concert or participation with them to preserve all
business, financial, accounting, and other records concerning the operations of
Data Marketing Group, Infogest and any other corporate entity controlled by
Defendants;

vii. Authorizing the United States Postal Service to detain all of Defendants’
incoming mail, at any address anywhere in the United States of America,
which is responsive to the solicitations which are the subject of this action, or
any others substantially similar thereto; and

viii. Authorizing the United States Postal Service to detain any advertisements,
solicitations, and promotional materials which are the subject of this action
and any substantially similar advertisements, solicitations, and promotional
materials that are deposited into the United States mails by Defendants, their
agents, officers, or employees, or any other persons or entities in active
concert or participation with them.

(b) A preliminary injunction on the same basis and to the same effect;

(c) A permanent injunction under 18 U.S.C. § 1345 on the same basis and to the same
effect, except that paragraph (a)(v1) supra shall be excluded from the final order. Further,
paragraph(a)(vii) supra shall be modified to read as follows:

Authorizing the United States Postal Service to detain and return to sender all of

defendants’ incoming mail, at any address anywhere in the United States of

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America, which is responsive to the solicitations which are the subject of this
action, or any others substantially similar thereto;

Paragraph (a)(viil) supra shall be modified to read as follows:
Authorizing the United States Postal Service to detain and destroy any
advertisements, solicitations, and promotional materials which are the subject of
this action and any substantially similar advertisements, solicitations, and
promotional materials that are deposited into the United States mails by
Defendants, their agents, officers, or employees, or any other persons or entities in
active concert or participation with them.

(d) For such other and further relief as the Court shall deem just and proper.

Dated: November 19, 2014

LORETTA E. LYNCH JOYCE R. BRANDA

United States Attorney Acting Assistant Attorney General
Eastern District of New York Civil Division

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So, now 2 internationally
acclaimed psychics have predicted
what your future holds in store for you...
it's fantastic news, I

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(RRB take note of these 4 things
that are very important for you:

: October 16, 2013,

Nene 4 Powerball,
T 4] Winnings,
foul! Problems solved
ne
September 19, 2013
Dea: :

If you've eos a special bottle of bubbly that you've
been saving for celebrating great news, then now's the
time to open it...

In fact, in exactly 27 days, I can see clearly that
the first incredible stroke of great fortune is going
to bring happiness into your life! This happy event
could be the first in a long line of lucky happenings.
But this depends on you and the decision you're going
to make in just a few moments.

 

_I can now tell you this: A FIRST major
‘ lottery win, the arrival of a new life, an
important encounter, further winnings...

And now there are two of us, both psychics of
international renown, who have seen Rs for you!

But first, let me explain how this all started.

 

It all began with a strange telephone call...
At that moment, I happened to be working on some

E24 on excTraeraln ang Comciadence,.,

Destiny Research Center

Phade torr ever... ™

 

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Marita DUVAL

Holder of the highest
honorary awards
and degrees

More than 40 years
of accurate and
verifiable predictions

More than 10,000
TV appearances and
radio programs, and
featured in over 700

newspaper articles

Has never failed to
telepathically locate
missing persons
(more than 20 to date)

Ability to predict the
future confirmed in
éxperiments by the
greatest scientific
authorities

Has predicted
hundreds of major
events all around
the world

Consulted by
many international
celebrities

Exhibit A
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important files, and among ‘them YOUR FILE, because some totally
new and unexpected elements had just come to light.

This new information was incredibly exciting because, as
you're soon going to see, it calls for sweeping changes and
provements in your life. But then, the telephone rang...

_ I wouldn't normally take a telephone call while I'm doing
this kind of meticulous work since it can be very distracting
and I need to stay totally concentrated. But this time I had a
strange feeling that this call was different. More importantly,
I had a feeling that it was directly linked to the work T was
doing for you. And TIT wasn't wrong!

When I picked up the handset, I recognized the warm, tle
voice of my friend, the renowned psychic, Patrick Guerin. een

This seer has a worldwide reputation. He also has the rare
and special power to make people win, win and WIN AGAIN at the
lottery and other games of "chance", very often really large
amounts of money (see the extra information that I have

enclosed especially for you)!

: He is usually such a calm man, I had never

seen e ». He was very a, e

One of hee modi amanna him lik is... H ry agitated. H
ros said he absolutely had to know, immediately, if
[rigchnca uv he world Twas in touch with some people who have very

specific characteristics (he gave me some very
allhed % me about OU, detailed and specific os (ne gave me some.

a’ // complex and may not be clearly understood by
oe people who are not initiates of the esoteric

sciences).

He confided in me that it was VITAL that we match this
information as quickly as possible! .

I was literally stunned by his request because, as I said,
I was right in the middie of working on your file and many of
the cific pieces of information that he gave mé were clear]
and obvious! linked to you, So, I asked him why he needed
ow :

He excitedly replied that he had extremely important
and confidential information te give these people and that
he couldn't tell me any more over the phone. He also told

_ me he needed my help!

He and I agreed that we absolutely had to meet to discuss
this in person. We agreed to meet early the next day...

F coulal not believe mgt cand!
HIS REVELATIONS ABOUT YOU AND YOUR FUTURE!
Once he was sitting down in my office, Patrick Guerin told

  

 

 

Exhibit A

 
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me he had experienced incredible visions of amazing clari
the likes of which he had rarely ever experienced.” “ys

In his visions, there were some people he didn't -know
although he was able make out some things about them. One of
the ¢ he knew for sure was that I was in contact with you
quite often in the last few weeks,

Patrick Guerin could see that this specific group of
people were plagued by some serious problems, particularly in .
the area of money. Their lives weren't how they wanted it
to be and they often felt desperately alone, séeking a way

out of their current situation.

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“At this point, Patrick Cyerin saw he could help these people
and among them, he saw YOU Yes, this great hic of
international renown KNOWS help these people really win

massive sums of money on eames of "chance! that could make
their financial woes a & of the past. He also had easy
solutions to the other impo t problems they are currently
battling!

"T know I can easily change their lives, Maria! he told me.

But the strangest part of the story is that in his vision,
this great psychic and seer wasn't alone in giving his help to
these few very specific people because I, Maria Duval, was
providing them with valuable, vital help as well!

| The mett durpatting ting 4, EE.
I saw the same thing for you!

When Patrick Guerin had finished, I wag_jg_a state of shock.
Basically, I'd seen the same thing for you, The money, the
changes, the new life...

Mon big chan and a new life...

There's no doubt at all, —_ that you are among this .
small group of people about wnom Patrick Guerin and I had such
clear visions. Too many specific pieces of information that
he gave to me are so clearly linked to you that it simply
cannot be a coincidence.

Do you remember

 

 

   
 

earlier when I told you that just —
before t that telephone call I was also working on your —

file? Well it was p. Jy because I_ had seen these changes in
your future that I had picked up your file and was ge

ready to write to you! You can imagine my amazement. .

   

Yes
money on

» I too have seen you win an initial large sum of
e lottery, and I've also seen that a2] your

wwolrng yor, prlaade Luar...

Exhibit A
4

most urgent problems are poing to find iti
solution ® geome @ happy and positive

Can you imagine the situation? Two acclaimed and respected
psychics having the same visions about you at the same time! And
in those visions, we both saw you winning a large sum of mon

on the lottery v soon and solving all those urgent problems
hat have been cas a shadow over your life until now! In
such circumstances, how could everything we've seen for you not
come true! Two psychics of international renown can't be wrong!

That could never happen!

So, now you're going to better understand why what Patrick
Guerin told me came as such a shock! Surely, you can no longer
doubt that your life really is going to change and money and
happiness are finally going to by your side!

We've compared our notes and too many things fit
that it simply CANNOT be just a coincidence!

When Patrick Guerin had finished telling me what he'd seen in
our future I had not a shadow of doubt that you were a part of
visions, I then explained what I had seen... almost the same
things! He wasn't surprised because, as I mentioned, in his vision

he'd seen that I was going to help.

We both wanted to be absolutely certain there was
no mistake and that we were both ut the same
individuals, including you in this case, » So, we Showed each
other our notes which T attached at the end of this letter. And
as can see, it REALLY fits! The message is perfectly clear for
of us!

Meow ane gong b find the dun of moneg each of td deur yore receinng
Patrick Guerin knows a good part of the help you're going to
need to win this money and sort out all your most urgent money

problems while I know the other parts. In fact, between us, we
have the solution to all your most urgent problems!

That's wh -_ we've decided to join forces and pool our
knowledge to help ‘you!

Le had never We've pooled our knowledge and our skill to
b ds / maximize your chances to win al) this money
com * and solve your problems!

From our respective visions, it was crystal clear that
for you to receive this first big win and to sort out your
problems, Patrick Guerin and I must work together and pool
our knowledge and skill. And that's just what we've done.

We locked ourselves in for 3 days and worked together
around the clock to perfect a brilliant, unique and very

Dethuls of Uist healfy om tha mace? page,

~ Exhibit A
s

dynamic and personalized help plan that comes in ? parts.

But first, you must understand that with this help you
are definitely going to be able to get access very quickly to This
first important sum of money and sée al] your most urgent
problems disappear!

Action 1: Your invaluable GUIDE to your NEW LIFE

We've written down Very straight seen for you in one

 

unique, invaluable but very s htforward document. If

you read this guide, you're going to have all the tips and
information you need to seize the opportunities that come
your way, at exactly the right moment.

For example, you're going to know what day and what
numbers you need to play to win again and again (all you're
going to need to do is check off the numbers we indica
you on your lottery tickets). You're going to know exactly what
you need to do toc ange your life, sort out your problems and
many more t. besides. It's all clearly explained in a
straightforward manner, simply follow the instructions that
Patrick Guerin and I are going to give you.

Action 2: Our EFFECTIVE aid and support!

With this Guide and the support and psychic assistance I
talked about above, you are guaranteed to receive from life
all that you are owed and entitled to expect... in other
words, money and the solution of your current problems.

 

Money and the solution of your problems

are right there, within your reach, and you
need do just one thing to grasp them!

Patrick Guerin and I have seen it: With our help, money
and happiness are going to come into your life! It’s written in
your future. ATT you have to do, to see your life change is
grasp the hand or friendship nee are hor ding out to you. The
rest, absolu everything e is w 2 at psychic
Patrick Guerin and myself, Maria Duval. ere ¥

 

 

 

Let us use the power of our vibrations and luck and
money is going to flow into your life, as surely as they
seem to be avoiding you now.

Most importantly of all, you must accept these changes

as they happen to you, because an opportunity that you ignore
is an opportunity thal usually NEVER shows SP AGAIN!

For all this happiness to fal your, life, for money to_take
your life brim with all the wonderful joys it can bestow, for
Lady Tuck to finally smile on your life...

All you need do is fill out and return, as soon as possible,

Moe rently good neurd. (Cente Zurn nour...
Exhibit A

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the Special Assistance Form on the last page of this letter.

More importantly, do it right away because, if I may remind
ou, we saw that the first tive event is set to ha i
Vie in just a few days’ time! So, act now. Ppen on yu

 

GOOD NEWS/ We are offering a part of our help for free!

You may perhaps be thinking that assistance as special as we
are offering you today could be very expensive. There are, after
all, £0 ‘to ‘two Vi renowned psychics acting on your behalf
and wor very hard for you.

But as you know, we are not. motivated by money. What we want,
more than anyt is your happiness! That would be the best
reward we could ask for.

That's why we've decided, together, to offer you the first
part of our assistance for free. All you'll have to pay for
is the preparation and first-class shipping fees of sending
your Invaluable Guide for a New Life you,

But that's not alli For us to_be sure you're not taking
even the slightest risk, we are also offer you a full and
unconditional money-back guarantee. This means that in the
Righty unlikely event that ev ing we've predicted for you
doesn’t happen, you need only Jet us know and you're going ‘to
receive an imm te and f refund, So, you are not taking
any risk at all by placing your faith in us and asking for

- our help.

It's now time to fill out and mail off your Special
Assistance Form without delay. Patrick Guerin and I know life
is going to give you everything you've ever wanted. Happiness
is on its way to you. .

 

Your devoted and sincere friend,
or

Maria Duval

Ps: In celebration of your NEW LIFE, we've prepared a
mysterious and extraordinary. ift for you —- a powerful Talisman
that can attract MONEY and LUCK. It's the same Talisman that
Patrick Guerin carries with him all the time. He's never shared
it before, but in your case he had no hesitation. The most
powerful and ancient Talisman we have ever known is now YOURS!

You see, we've done ev hing possible to guarantee,
wery soon, your new life, with luck, money and happiness...
Send off your Special Assistance form today! :

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My dear 3.

We. have never met yet I know so many things about you!

Yes, I had very clear visions and I know your life is going to change
very soon, but only if you make the right decisions today.

I know the life you're leading right now ig not all you hoped for..
I know you're currently immersed in serious problems that are casting a
shadow over your existence... I also know you need URGENT help sorting out
your money problems sc that you can have a decent standard of living... And,
finally, I know you deserve MUCH MORE out of life than you’re currently -
getting.

I've seen you winning an initial, very large, sum of money... I’ve
seen all your most urgent problems find a solution, one after the other...
I've seen a new life taking shape-on your horizon, more wonderful and
fulfilling that you could ever imagine... I’ve seen joy and happiness light
up your face... I’ve seen a person full of energy, getting the absolute most
out of life .. And that person is you yyy:

I can say this and confirm it: Your life really is going to change, -
in ways more significant than you can imagine, and I‘m not the only
psychic to have seen it! I can‘t emphasize enough the fact that all
the good things I saw heading your way. Maria Duval saw them too! I
have never heard of this happening in the history of clairvoyance! So,
this is irrefutable proof that your life really is going to change
over the coming weeks!

Just imagine... For all this amazing happiness, and all this joy we
have seen coming into your life, the only thing you have to do is agree
to accept the help Maria Duval and I are offering you by simply returning
the enclosed Special Assistance Form today. If I could do it for you I
would, but unfortunately I can’t do that. You and you alone can do this.

I am telling you to accept this sincere and selfless offer we are
making you today. You won’t regret it and your future happiness may depend
on it. Maria Duval and I are awaiting your news with great impatience,

Your devoted and sincere friend,

PS, Most important of all, de it now becoyse your First Lucky

Event is coming very soont
019103

Exhibit A
Meee ane gong tb find youn Special Asdittnce Foam on Boe nexed’ prage

 

Notes taken by me during the vision I had about youl

 

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So, you see there.is no doubt; both Patrick

Guerin and I saw the same happiness and the same changes

linked to you! There is absolutely no reason why everything
that we are predicting for you couldn't come true.

 

Exhibit A
 

SPECIAL ASSISTANCE FORM FOR: a.
Lottery prizes... problems solved... el

 

 

To be completed and returned as soon as possible to:
Maria Duval, c/o Destiny Research Center,

1265 Baring Blvd. #411, Sparks, NV 80434-8673
(X) YES, my dear Maria, I would be absolutely delighted to accept this money

and these changes for the better that are being offered to me today and that
both you and Patrick Guerin have seen coming into my life.

(X) Both of you saw for me, at the same time the following great changes:
A first happy event in da

Many major wins on games of chance.

An end to all my most urgent problems.

Good news in my relationships and my emotional life,

Other (significant) wins on games of chance!

A totally new and much happier life!

TRG SAT HA GRO ES COMMERCE. FG LAE OF fc pt

3B OFRTO, POR Wad THES S BSP a eS Rat, ee AR tig Sv A AP AN TOR $2 RLS ATH

AIT Re SAL AD mn

Yes, I want these transformations in my life and so would ask you kindly to perform:

(X) My Grand Ceremony which can make me a WINNER and allow me to SEE and
SEIZE these many important opportunities that are coming my way, particularly
in the area of MONEY!

And please send me:
My mysterious talisman with the power to attract LUCK and MONEY. ~

(X) My Invaluable Guide to my New Iife, in which I'm going to find all the
information I need to grasp my many chances at exactly the right time when
they come along. Such as for example: The days and num I should play to
maximize my chances to win, and win BIG! What I need to do to change my life
and see an end to my problems.

(X) what you most want for me is my happiness, That's why you've decided
to offer me the first part of your help for free, I only pay the cost of
the preparation and mailing of my Invaluable Guide to a New Life (just $50)
which I am enclosing with this Assistance Form in the following manner:

I enclose a ( ) check or ( ) money order Please check your address below and,
for a total of #50, (which includes all if necessary, correct using CAPITAL
fees and first-class delivery fees) made out LETTERS, Thank you,

to: Destiny Research Center, or ( ) cash. My address is:

 

    
 

Fah CESARE EL Carbo 4, PRTG THAT VOR! MAW PALLY ACCHT Se Ras Ay GHG VEE AMA ce.

 

 

Or by Credit Card: ( ) Mastercard ( ) Visa

Card Card Nos

Expiry date (MM/YY: vo /___ 1528330 BDOSOA
Signature: I confirm that my birthdate iss

 

 

Your Complete Guarantee of Satisfaction
IMPORTANT: In order to eliminate any risk on your part, we're offering you a
full lifetime money-back guarantee in the very unlikely event that what we're
predicting for you doesn't happen. So, you've got absolutely nothing to lose by
putting your faith in us and asking for our help.

~ Maria |

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Exhibit A
